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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

)
. . )
Bostwick Laboratories, Inc., et al., J Case No. 17-10570 (BLS)
)
Debtor, )
OFFICE OF THE UNITED STATES TRUSTEE - REGION 3
POST-CONFIRMATION QUARTERLY SUMMARY REPORT

This Report is to be submitted for all bank accounts that are presently maintained by the post confirmation
debtor.

 

 

 

 

 

 

Debtors’ Names: Bostwick Laboratories, Inc. Bank: . Bank of America / Encore Bank
Bankruptcy Number: _ 17-10570 Account Number: Various

Date of Confirmation: October 2, 2017 Account Type: Checking / Investment
Reporting Period

(month/year) March 31, 2020

 

Beginning Cash Balance: (adjusted) [549,836.59

All receipts received by the debtor:

Interest Earned 956.94
Collections __. 0
Settlements: 0
Sale of Debtor’s Assets: 0

Reversals of Refund Accrual:

Total of cash received: 956.94

Total of cash
available: 1,550,793.53

Less all disbursements or payments (including payments made under the confirmed plan) made by the Debtor:
Disbursements made under the plan, excluding the

administrative claims of bankruptcy professionals: : 0
Disbursements made pursuant to the administrative claims
of bankruptcy professionals: 0
All other disbursements made in the ordinary course: 0
Total disbursements: 0
Ending Cash Balance: 1,550,793.53

Pursuant to 28 U.S.C. Section 1746(2), I hereby declare under penalty of perjury that the forgoing is true and correct
to the best of my knowledge and belief.

 
 

Date: 4/17/20 Name/Title:

 

 

 

an Administrator

 

DB02:3433408 | 1 064626.1001

 
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Fortis Business Banking

Bostwick Lab 3602 S02 $1,535,847.67
Current Balance
Last Updated: 4/18/2020 10:57 AM

 

 

 

 

 

 

Current Balance $1,535,847.67 YTD interest amount $956.94
Available Balance $1,535,847.67  MICRLine 102336383059
Previous year-to-date... $3,843.39

Date Description Amount
MAR 31. Annual Percentage Yield Earned 0.25% from 03/01/20 through $326.04
2020 03/31/20/Deposit Dividend Tiered Rate $1,535,847.67
FEB 29 Annual Percentage Yield Earned 0.25% from 02/01/20 through $304.94
2020 = =©02/29/20/Deposit Dividend Tiered Rate $1,535,521,63
JAN 31 Annual Percentage Yield Earned 0.25% from 01/01/20 through $325.96
2020 01/31/20/Deposit Dividend Tiered Rate $1,535,216,69
JAN 8 . ($1,300.00)
3020 ® Draft 1060 Tracer 000001773 - 1060 $1,534 890.73
DEC 31 Annual Percentage Yield Earned 0.25% from 12/01/19 through $329.35
2019 = 12/31/19/Deposit Dividend Tiered Rate $1,536,190.73
($748.80)

DEC 30 withdrawal by Wire 0000284657

2019 $1 ,535,861.38

 

($21,069.67)

DEC 30 : i
Withdrawal by Wire 0000284560 $1,536,610.18

2019

 

 
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$12,600.00

 

 

 

 

 

 

 

 

 

 

 

 

DEC 10 : .
5019 Deposit by Check Mobile Chk Dep $1,557,679.85 /
DEC 10 he ; $15.75
5019 Deposit by Check Mobile Chk Dep $1.545,079.85

DEC 10 . $5,099.77
5019 Deposit by Check Mobile Chk Dep $1,545,064.10

Nov30 Annual Percentage Yield Earned 0.25% from 11/01/19 through $316.37 J
2019 = 11/30/19/Deposit Dividend Tiered Rate $1,539,964.33

oct31 Annual Percentage Yield Earned 0.25% from 10/01/19 through $324.26 VY
2019 = 10/31/19/Deposit Dividend Tiered Rate $1,539,647.96

OCT 30 . ($19,360.00)
3019 @ Draft 1059 Tracer 000014373 - 1059 $1,539,323.70 /

OCT 21 7 ($12,600,00)
5019 & Draft 1056 Tracer 000017993 - 1056 $1,558,683.70
oct17. Wire Originator ACUMEN RECOVERY SERVICES LLC/Deposit by $79,536.17 Jf
2019 = Wire 0000272478 $1,571,283.70
OCT8 ($975.00)
3019 & Draft 1058 Tracer 000621227 - 1058 $1,491,747.53

OCT 7 . ($12,500.00)
5019 @ Draft 1057 Tracer 000018825 - 1057 §1,492,722.53

SEP 39 Annual Percentage Yield Earned 0.25% from 09/01/19 through $316.68
2019 =. 09/30/19/Deposit Dividend Tiered Rate $1,505,222,53

SEP 30 ($37,530.60)
5019 Withdrawal by Wire 0000269264 $1,504,905.85

AUG31 Annual Percentage Yield Earned 0.25% from 08/01/19 through $327.43
2019 = 08/31/19/Deposit Dividend Tiered Rate $1,542,436,45

 

 
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JUL31 Annual Percentage Yield Earned 0.25% from 07/01/19 through $328.72
2019 = Q7/31/19/Deposit Dividend Tiered Rate $1,542,109.02
JUL 17 ; ($12,395.50)
3019 Withdrawal by Wire 0000256812 $4,541,780,30
JUN 30 Annual Percentage Yield Earned 0.25% from 06/01/19 through $322.40
2019 = 06/30/19/Deposit Dividend Tiered Rate $1,554,175.80
JUN26 ; ($12,000.00)
2019 Draft 1053 Tracer 000007021 - 1053 $1,553,853,40
JUN 24 ; ($2,200.00)
5010 @ Draft 1055 Tracer 000007525 - 1055 $1,565 853,40
JUN 24 . ($294,73)
2019 = Draft 1054 Tracer 000002067 - 1054 $1.568,053.40
JUN 17 : - ($6,088.00)
3019 Withdrawal by Wire 0000251929 $1,568,348,13
MAY 31. Annual Percentage Yield Earned 0.25% from 05/01/19 through $335.57
2019 = 05/31/19/Deposit Dividend Tiered Rate $1,574,436.13
MAY 20 ($1,827.33)
3019 ( Draft 1051 Tracer 000014441 - 1051 $1,574,100.56
MAY 10 : . ($17,087.50)
3019 Withdrawal by Wire 0000246127 $1,575,927.89
MAY 9 . ($975.00)
5019 Draft 1050 Tracer 000010367 - 1050 $1.593,015,39
APR30. Annual Percentage Yield Earned 0.25% from 04/01/19 through $323.94
2019 = 04/30/19/Deposit Dividend Tiered Rate $1,593,990,39
APRS5 Wire Originator ACUMEN RECOVERY SERVICES LLC/Deposit by $128,547.24
2019 =Wire 0000240790 $1,593,666.45

 

 
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Fhorida Business Banking

Bostwick Lab 3594 S01
Last Updated: 4/18/2020 10:57 AM

Current Balance $16,027.76
Available Balance $16,027.76
Previous year-to-date... $0.00

Date Description

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YTD interest amount
MICR Line

$16,027.76

Current Balance

$0.00
101336383050

Amount

 

FEB 12 Withdrawal by Wire 0000233036

($27,312.00)

 

2019 $16,027.76
FEB6 Checks 231,90 Check Count 2 Deposit Number 0000054/Deposit $231.90
2019 Bulk $43,339.76

 

Page totals: Credits: [1] $231.90 | Debits: [1] ($27,312.00)

 
